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1    Joe Angelo (Bar #268542)
     jangelo@gajplaw.com
2    Gale, Angelo, Johnson, & Pruett, P.C.
     1430 Blue Oaks Blvd., Ste. 250
3    Roseville, CA 95747
     916-290-7778 ph
4    916-721-2767 fax
5    Attorneys for Plaintiff
     Jose Caampued
6

7
                           UNITED STATES DISTRICT COURT

8           CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
9

10                                           CASE NO. 5:21-cv-01354
11
     Jose Caampued
12
                         Plaintiff,          PLAINTIFF’S COMPLAINT FOR
                                             DAMAGES:
13
           v.                                 1. Violation of the Rosenthal Fair Debt
14
                                                 Collection Practices Act
15   Bank of America, N.A.                    2. Intrusion Upon Seclusion
                                              3. Violation of the Telephone Consumer
16                                               Protection Act
                         Defendant.
17

18
           COMES NOW Plaintiff Jose Caampued, an individual, based on information
19
     and belief, to allege as follows:
20
                                      INTRODUCTION
21
        1. Plaintiff brings this action against Bank of America, N.A. in response to
22
     receiving approximately 65 telephone calls and pre-recorded messages from Bank
23
     of America, N.A. over the course of three months. The calls and other contact
24
     continued despite Bank of America, N.A. receiving two certified notices demanding
25
     the calls stop and informing Bank of America, N.A. that Plaintiff was represented
26
     by counsel. Bank of America also sent multiple payment demands to the Plaintiff
27
     through email and regular mail despite knowing he was represented by counsel.
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1       2. This is an action for damages brought by an individual consumer for
2    Defendant’s violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ.
3    Code §1788, et seq. (hereinafter “Rosenthal Act”), which prohibits debt collectors
4    from engaging in abusive, deceptive, and unfair practices, intrusion upon seclusion,
5    which California has adopted from §652B of the Restatement (Second) of Torts, and
6    violation of the Telephone Consumer Protection Act 47 U.S.C. §227, et seq.
7    (hereinafter “TCPA”), which prohibits the use of automated dialing equipment when
8    making calls to consumers.
9       3. Plaintiff brings this action against Defendant Bank of America, N.A.
10   (hereinafter “Defendant” or “Bank of America”) for its abusive and outrageous
11   conduct in connection with debt collection activity.
12      4. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the
13   following findings and purpose in creating the Rosenthal Act:
14
           (a)(1) The banking and credit system and grantors of credit to
           consumers are dependent upon the collection of just and owing debts.
15         Unfair or deceptive collection practices undermine the public
16         confidence which is essential to the continued functioning of the
           banking and credit system and sound extensions of credit to consumers.
17

18          (2) There is need to ensure that debt collectors and debtors exercise
19
            their responsibilities to another with fairness and honesty and due
            regard or the rights of the other.
20

21          (b) It is the purpose of this title to prohibit debt collectors from engaging
            in unfair or deceptive acts of practices in the collection of consumer
22
            debts and to require debtors to act fairly in entering into and honoring
23          such debts, as specified in this title.
24
        5. While many violations are described below with specificity, this Complaint
25
     alleges violations of the statutes cited in their entirety.
26
        6. The TCPA was designed to prevent calls like the ones described herein, and
27
     to protect the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress
28

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1    intended to give consumers a choice as to how corporate entities may contact them
2    and to prevent the nuisance associated with automated or prerecorded calls.
3                               JURISDICTION & VENUE
4       7. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47
5    U.S.C. § 227.
6       8. This venue is proper pursuant to 28 U.S.C. §1391(b).
7       9. Plaintiff resides in the Central District of California.
8       10. The contract entered into between Plaintiff and Bank of America was
9    executed in the Central District of California.
10      11.Bank of America, N.A. maintains hundreds of banking locations throughout
11   the Central District of California.
12                             GENERAL ALLEGATIONS
13      12. Plaintiff Jose Caampued (hereinafter “Plaintiff”) is an individual residing in
14   the state of California and is a “debtor” as defined by Cal. Civ. Code §1788.2(g).
15      13. At all relevant times herein, Bank of America was a company engaged, by
16   the use of mail, email, and telephone, in the business of collecting a debt from
17   Plaintiff, and a “consumer debt,” as defined by Cal. Civ. Code §1788.2(f).
18      14. At all relevant times, Defendant acted as a “debt collector” within the
19   meaning of Cal. Civ. Code §1788.2(c)
20      15. Plaintiff opened an unsecured credit account with Defendant in late 2019.
21      16. The account Plaintiff opened with Defendant was primarily for personal,
22   family or household purposes and is therefore a “debt” as that term is defined by the
23   Calif. Civil Code § 1788.2(d) of the Rosenthal Act.
24      17. Defendant has been attempting to collect on a debt that originated from
25   monetary credit that was extended primarily for personal, family, or household
26   purposes, and was therefore a “consumer credit transaction” within the meaning of
27   Calif. Civil Code § 1788.2(3) of the Rosenthal Act.
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1       18. Because Plaintiff, a natural person allegedly obligated to pay money to
2    Defendant rising from what Plaintiff is informed and believes was a consumer credit
3    transaction, the money allegedly owed was a “consumer debt” within the meaning
4    of California Civil Code § 1788.2(f) of the Rosenthal Act.
5       19. Plaintiff is informed and believes that Defendant is one who regularly
6    collects or attempts to collect debts on behalf of themselves, and is therefore a “debt
7    collector” within the meaning of the Calif. Civil Code § 1788.2(c) of the Rosenthal
8    Act, and thereby engages in “debt collection” within the meaning of the California
9    Civil Code § 1788.2(b) of the Rosenthal Act, and is also therefore a “person” within
10   the meaning of California Civil Code § 1788.2(g) of the Rosenthal Act.
11      20. Plaintiff’s account was an unsecured credit card and Plaintiff began making
12   payments on the account shortly after it was opened.
13      21. Plaintiff was making payments on the account for several years before he
14   became financially unable to keep up with the monthly payments.
15      22. Defendant began contacting Plaintiff January of 2021 to inquire about the
16   status of the account and to collect on the payments that were no longer being made.
17      23. Plaintiff retained counsel to assist in dealing with Defendant’s debt and to
18   seek some type of financial relief.
19      24. Counsel for Plaintiff sent Defendant an initial letter confirming
20   representation of Plaintiff and informing Defendant that it was to no longer contact
21   Plaintiff directly and that all calls/letters/collection efforts were to no longer be
22   directed at Plaintiff.
23      25. The contents of the letter also informed Defendant that Plaintiff was
24   withdrawing his consent to be contacted on his cellular telephone if any such consent
25   had ever been previously given.
26      26. Counsel for Plaintiff sent the letter of representation to Defendant through
27   certified mail on February 16, 2021. Defendant received the certified letter on
28   February 20, 2021.
                                               4
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1       27. Plaintiff informed Defendant that he was revoking his consent to be called
2    on his cellular telephone in February of 2021.
3       28. Defendant continued to contact Plaintiff even after it had received Plaintiff’s
4    February 16, 2021 letter.
5       29. Despite being aware that Plaintiff was represented by counsel, Bank of
6    America continued to place calls to Plaintiff’s cellular telephone.
7       30. Frustrated, a second notice was sent to Bank of America through USPS
8    certified mail on April 7, 2021. Bank of America received the notice on April 12,
9    2021.
10      31. Undeterred after the second notice was received, Bank of America continued
11   to call Plaintiff.
12      32. The actual call volume may be much higher as the number of calls placed by
13   Bank of America to Plaintiff have overwhelmed Plaintiff and caused him to
14   experience a significant amount of anxiety, frustration, and stress.
15      33. In addition to the constant collection calls that were placed to Plaintiff,
16   Defendant continued to send collection notices and payment demands through email
17   and regular mail, despite being aware that Plaintiff was represented by counsel.
18      34. Defendant would often call Plaintiff numerous times each day demanding
19   payment on the account.
20      35. Defendant would use an automatic dialing machine when placing the calls to
21   Plaintiff.
22      36. Defendant’s automatic dialing machine contains the capacity to randomly
23   dial numbers.
24      37. Defendant would leave pre-recorded messages on Plaintiff’s cellular
25   telephone.
26      38. Most of the messages left by Defendant when Plaintiff did not answer the
27   collection calls were pre-recorded.
28

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1       39. Plaintiff was contacted repeatedly regarding non-payment of the debt owed
2    to Defendant despite Defendant being notified, twice, that Plaintiff had retained
3    counsel to deal specifically with the debt owed to Defendant and that Plaintiff
4    revoked consent to be contacted on his cellular telephone.
5       40. Defendant’s calls were frequent in nature and continued despite receiving
6    written confirmation that Plaintiff was represented by an attorney and that all calls
7    to Plaintiff’s cellular telephone were to stop.
8       41. Defendant intentionally ignored Plaintiff’s certified letter of representation
9    of revocation of consent and willfully attempted to coerce Plaintiff into making
10   payment on his account by overwhelming his cellular telephone with auto dialed
11   calls.
12      42. Bank of America intended to frustrate and annoy Plaintiff at all times of the
13   day, regardless of where Plaintiff was and ignoring that Plaintiff retained counsel to
14   address his Bank of America account.
15      43. Despite receiving written notice, twice, regarding Plaintiff’s representation
16   by counsel and revocation of her consent to be contacted on his cellular telephone
17   Defendant continued to call and contact Plaintiff daily regarding his account with
18   Defendant.
19

20
                                FIRST CAUSE OF ACTION
                               (Violation of the Rosenthal Act)
21                            (Cal. Civ. Code §§ 1788-1788.32)
22                          (Against Defendant Bank of America)
23
        44. Plaintiff realleges and incorporates herein the allegations in each and every
24
     paragraph above as though fully set forth herein.
25
        45. Plaintiff provided written notice, twice, via certified mail that she was
26
     represented by sending Defendant a letter with the name, address, and contact
27
     information of her attorney and informed Defendant that he was represented.
28

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1       46. Defendant continued to call and attempt to contact Plaintiff despite receiving
2    notice of representation and being informed that Plaintiff had retained counsel and
3    represented Plaintiff with respect to the debt that was owed to Defendant.
4       47. The calls and communications made by Defendant to Plaintiff were not
5    related to statements of Plaintiff’s account and were attempts to collect a debt.
6       48. Plaintiff received over 65 calls from Defendant after Defendant was aware
7    Plaintiff was represented by counsel.
8       49. Defendant also mailed payment demands to Plaintiff after it became aware
9    she was represented by counsel.
10      50. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after
11   receiving noticed that Plaintiff had retained an attorney.
12

13
                             SECOND CAUSE OF ACTION
                              (Violation of the Rosenthal Act)
14                           (Cal. Civ. Code §§ 1788-1788.32)
15                         (Against Defendant Bank of America)
16
        51. Plaintiff realleges and incorporates herein the allegation in each and every
17
     paragraph above as though fully set forth herein.
18
        52. Defendant placed at least 65 calls to Plaintiff.
19
        53. Plaintiff was contacted multiple times per day by Defendant.
20
        54. Defendant sent written payment demands and collection notices to Plaintiff
21
     in addition to the phone calls.
22
        55. Defendant violated Cal. Civ. Code §1788.11 by contacting Plaintiff over 95
23
     times in a deliberate attempt to call Plaintiff repeatedly and annoy Plaintiff.
24

25
                             THIRD CAUSE OF ACTION
26                              (Intrusion Upon Seclusion)
27
                           (Against Defendant Bank of America)

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1       56. Plaintiff realleges and incorporates herein the allegations in each and every
2    paragraph above as set forth herein.
3       57. The California legislature explicitly recognized a consumer’s inherent right
4    to privacy in collection matters in passing the Rosenthal Fair Debt Collection
5    Practices Act and incorporating most of the Federal Act’s provisions into the
6    Rosenthal Act.
7       58. According to findings by the FCC, the agency Congress vested with authority
8    to issue regulations implementing the TCPA, such calls are prohibited because, as
9    Congress found, automated or prerecorded telephone calls are a greater nuisance and
10   invasion of privacy than live solicitation calls, and such calls can be costly and
11   inconvenient.
12      59. Bank of America intentionally interfered, physically or otherwise, with the
13   solitude and seclusion of Plaintiff, namely by engaging in unlawful and intrusive
14   communications.
15      60. Bank of America intentionally caused harm to Plaintiff’s emotional well-
16   being by engaging in highly offensive conduct in the course of collecting its debt,
17   and thereby invaded and intruded upon Plaintiff’s rights to privacy.
18      61. Plaintiff has a reasonable expectation of privacy in his solitude, seclusion,
19   and/or private concerns and affairs.
20      62. These intrusions and invasions against Plaintiff by Bank of America occurred
21   in a way that would be highly offensive to a reasonable person in that position.
22      63. Bank of America received notice stating that it was no longer to contact
23   Plaintiff as he was represented by counsel and revoked his consent to be contacted
24   on his cellular telephone.
25      64. As a result of such invasions of privacy, Plaintiff is entitled to actual damages
26   in an amount to be determined at trial from Bank of America.
27      Cal. Civ. Code § 3294
28

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1       65. Bank of America also acted with oppression, fraud, and/or malice, thereby
2    entitling Plaintiff to exemplary damages in an amount according to proof and a finder
3    of fact at trial.
4       66. Bank of America had actual knowledge that it continued to violate both state
5    and federal collection laws as it received two separate notices regarding
6    representation of Plaintiff by an attorney.
7       67. These calls were done with knowledge that Plaintiff was represented by
8    counsel and could not be communicating directly with Plaintiff, let alone using an
9    automated telephone dialing system and leaving pre-recorded voice messages.
10      68. Given Defendant’s knowledge of Plaintiff’s representation and revocation of
11   consent, these calls were an attempt to collect a debt in an illegal manner with a
12   conscious disregard for Plaintiff’s rights under both the Rosenthal Fair Debt
13   Collection Practices Act and the Telephone Consumer Protection Act.
14      69. Given Defendant’s knowledge of Plaintiff’s representation and revocation of
15   consent, Defendant’s illegal communications were done to intentionally subject
16   Plaintiff to the unjust hardship of receiving at least sixty five pre-recorded messages.
17      70. The sheer volume of calls was intentionally designed to exhaust Plaintiff into
18   paying Defendant.
19      71. Bank of America also acted with oppression, fraud, and/or malice, thereby
20   entitling Plaintiff to punitive damages in an amount according to proof and a finder
21   of fact at trial.
22
                             FOURTH CAUSE OF ACTION
                                  (Violation of the TCPA)
23                                    (47 USC § 227)
24                       (Against Defendant Bank of America Bank)
25
        72. Plaintiff realleges and incorporates herein the allegations in each and every
26
     paragraph above as though fully set forth herein.
27

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1        73. Defendant was informed that Plaintiff revoked his consent to be contacted by
2     Defendant in February of 2021.
3        74. Defendant called Plaintiff at least 65 times after Plaintiff withdrew her
4     consent to be contacted by an automatic dialing machine.
5        75. Defendant was notified that Plaintiff had revoked her consent to be contacted
6     on her cellular telephone by an automatic dialing machine, however, despite being
7     Plaintiff’s revocation, Bank of America continued place calls to Plaintiff’s cellular
8     telephone without her consent and with complete disregard the prior notice that was
9     received by Bank of America.
10       76. Defendant would contact Plaintiff nearly daily regarding payment on the
11    accounts.
12       77. Defendant placed the above cited calls using an artificial or prerecorded voice
13    to deliver the collection messages without Plaintiff’s prior express consent.
14       78. Defendant would often leave pre-recorded messages on Plaintiff’s cellular
15    telephone.
16       79. Defendant’s automatic dialing machine contains the capacity to randomly
17    dial telephone numbers.
18       80. All calls placed by Defendant to Plaintiff utilized an “automatic telephone
19    dialing system” as defined by 47 U.S.C. §227(a)(1).
20       81. These calls were made to Plaintiff’s cellular telephone and were not calls for
21    an emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
22       82. Plaintiff expressly revoked any consent that may have previously been given
23    to Defendant to be contacted by an automatic dialing machine in February of 2021.
24       83. These telephone calls by Defendant, or its agent, violated 47 U.S.C.
25    §227(b)(1)(A)(iii).
26                                 PRAYER FOR RELIEF
27    WHEREFORE, Plaintiff prays for judgment as follows:
28                a. An award of actual, statutory, and punitive damages.
                                                10
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1              b. An award of actual damages pursuant to California Civil Code
2                 §1788.30(a), as will be proven at trial, which are cumulative and in
3                 addition to all other remedies provided for in any other cause of action
4                 pursuant to California Civil Code §1788.32.
5              c. An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
6                 §1788.30(b), which are cumulative and in addition to all other remedies
7                 provided for in California Civil Code §1788.32.
8              d. An award of costs of litigation and reasonable attorney’s fees pursuant
9                 to Cal. Civ. Code §1788.30(c).
10             e. Exemplary damages pursuant to California Civil Code § 3294.
11             f. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.
12                §227(b)(3)(C) for each and every violation; and
13             g. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such
14                conduct in the future.
15
                                            Gale, Angelo, Johnson, & Pruett, P.C.
16    Dated: August 11, 2021                By:    /s/ Joe Angelo
17                                                 Joe Angelo
                                                   Attorney for Plaintiff
18

19                             DEMAND FOR JURY TRIAL
20
            Plaintiff hereby demands trial of this matter by jury.
21                                           Gale, Angelo, Johnson, & Pruett, P.C.
22
      Dated: August 11, 2021                       /s/ Joe Angelo
23
                                                   Joe Angelo
24                                                 Attorney for Plaintiff
25

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